                                                STATE OF NEW YORK
                                          OFFICE OF THE ATTORNEY GENERAL

 LETITIA JAMES                                                                                     EXECUTIVE DIVISION
ATTORNEY GENERAL                                                                               OFFICE OF FEDERAL INITIATIVES


                                                                            March 18, 2022

      By ECF
      Honorable Brenda K. Sannes
      United States District Judge
      United States District Court
      Northern District of New York
      P.O. Box 7336
      Syracuse, NY 13261

                 RE:    Trump v. James, NDNY No. 21 Civ. 1352 (BKS)(CFH);
                        Notice of supplemental authority

      Dear Judge Sannes,

               The Office of the Attorney General (“OAG”) represents Defendant, Attorney General
      Letitia James, in the above-captioned case. We write in connection with Defendant’s pending
      motion to dismiss the complaint (Dkt. No. 14) to provide the Court with notice of supplemental
      authority: the recent Second Circuit decision in Exxon Mobil Corp. v. Healey, No. 18-1170. As
      the Court is aware, on page 27 of its brief, OAG cited to Judge Caproni’s decision for her finding
      that then-AG Schneiderman’s public statements about Exxon provided no basis to infer improper
      purpose, other than to suggest that the AG believed an investigation was justified. (Dkt. No. 15).
      In its appellate review, the Second Circuit declined Exxon’s request for a Munsingwear vacatur,
      leaving intact the decision of Judge Caproni’s cited in OAG’s papers. A copy of the Second
      Circuit decision in Exxon Mobil Corp. v. Healey is accessible on Westlaw at No. 18-1170, 2022
      WL 774516 (2d Cir. Mar. 15, 2022).


                                                                   Respectfully submitted,

                                                                   /s/ Colleen K. Faherty
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